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EXHIBIT A
Case 1:22-cv-01370-SEB-MKK Document 1-1 Filed 07/11/22 Page 2 of 7 PagelD #: 19

LoarNe: pera CONSUMER INSTALLMENT LOAN Etfectiea Date: 4/18/2022 .
Application Date: 4/45/2022 AGREEMENT. Maturity Oate: 03/17/2023

This is the date you signed, and submilted this apptication to the

lender,

THIS AGREEMENT SHALL NOT.CONSTITUTE A ‘NEGOTIABLE INSTRUMENT

endar’s, Name: Biboon, LLC., DBA Bridge Lending Solutions Borrowor's Nama: Knotts’ Caillin:

Address! PO Box 481 corvune ,, er
Cay, Sino, Zip: Lac du Flambeau, WI 54598 owoar's Address:

a
: - City. State, Zip;
Phone: 866-572-0720 ae a

In this. Consumar Lean. Agrsement ("Loan Agradment}, tha words “your,” “your,” and ‘Temaan the borrowecwho has’sigeed this agreement, The words "Wwe", “us" and “our* mean Biboon,LLC:, OBA
Bridge Lending Solutions "Lender" or “Bridge Landing Solutions") an ontity. owned by a Fi lly Recognized Native Aineritan Tribe, Lae du Flambaau Band af Lake Superior Chippewa Indians of
Wisconsin (*Tribe").

“Loan! maans {his Consumer instalment ioan,

CONSENT TO: ELECTRONIC COMMUNICATIONS: The folowing terms and conditions gover el ni ications in fon with this Loan Agreement andthe {ransaction evidenced hareby
{ihe “Consent” ). By. electronically signing this:Loon Agreement halow, you are contitmning that you have agreed to the terms and conditions 0! ihe Congent.and thal ryou have downloaded or printed'a
copy of this Consent for your records.-You agred: Any digclosure, Notice, reeds ar other type of Information that Is provided toyau in-cor ion with your | Iranisaction with us; including but not fmited
te, this Loan Agreement, this Consent, the Truth ir, Landing disclosures set forth heroin, change-in-terms natives, fee anid ictlén information, statements, dalayad dist tatlars, noticonat

a action, app ‘Stale mandated brach and dis and transaction inf tion ("C ons").: ‘tmay. be. sent to you-elactronically by sending il-1¢.you by e-mail, ar.by posting ine
information:at aur web site as petmitiad by applicable tow,

We ‘ill nal be ablignted to provide any Communication to you in paper farm unless you specifically request us to do'so. You may obtain a copy of any Communicat by contacting us at: Brldge Lending
Solutions, 3 Tribal LLC,PO Box 481, Lac du Flambeau, WI 54538 of by:calling US. at 666-572-0720. You will not ba chargeil'a fee far such copy, You also can wilhdraw your Corisent o.ongaing elocironic
communications in the:same manner, and ask tralthay be sent to you in paper or ‘nolt-electranio form, You agree'to provide us with Your currant e-mail addross for noteos:at the address or phone
number indicated above. ff your e-mail addrass changes, you must aand us.o notice.of the naw:address by writing lo us. or Sending us-an e-mail, using gocuire messaging,-al least five.(5) days balore

tho change. In. order to ive electronic in ion wits (his trac ion, you will need a working conneciion fo the Internat, Your MUSt Support te Secure Sockels Layer
(SSL) protocol. SSL provictes a ‘secure channel to send aid receive data over the Intemot through HS enerypilon capabllities, Netscape 4,7+.and above and Microsoft Internat Explorer. §.01 #and above
“suppert this feature. You will also need alther a printer J to. your campuler to print disch h S Or sufficlant hard drive space.available to save'the Information (@.4,, 1 megabyte or mare),

We do not providedSP services. You must have your. own Intemet Service Provider. We miay.amend {add to, delete or change) ihe terms‘of this consent @ eléctronic distidstire by providing you wilh
advance notice, in accordance wilh applicable taw,. Your signature below is an electronic signature that |s fully enlorceablo. against you in accordance with the lerms of this Agreement. By olectronically
signing this Loan Agreement below; you are canfirming (hat: (1) your system meets the fequirements sot forlh above; (2): you agree to. receive Ci inations stextronically; and-(3} you are abla to
access and printor-slere information presented at this website,

By checking this box. you hereby agree fo the forms of this Consent to Electronic Commuriications,

YOUR ELECTRONIC SIGNATURE: ' You acknowedga and agrea thal when you type your nama in the indicated boxes ‘on this document, you Ate providing your electronic signalure on this d Yt. By:

ically signing this decun Mt, YOU are. Agreeing to-all {Hie faring. and condilions:set forth inthe Agreement, and certtiying that alt information you bave provided: In.connecting with this transaction is
complete and accurate, You agree that your: electronic: ‘gignature: shall Hove the same force and effect, and shall bind you to this: “Agresment In the Same manner and to he rus extent os 8 physical
sighahte would do, inecordance will the Electronic: Sionatures in Global and National Corimezca. Act CESIGN) to ihe extentapplicabla: You.also. agree that this Agreamant: and all related: documents
dre dleatronic records and. that, as such, they maybe transferred, authentichtad, blored, and transmitted ‘by electronic means.

TRUTH:IN-LENDING DISCLOSURES

Maximum Amountof
ANNUAL PERCENTAGE RATE: FINANCE CHARGE Amount Finknced Total Payment

The cost of your credit’as a yearly rate. The dollar amount ths credit will cost = ==The amount of credit provided toyouor Tho amount you will have paid after you

you, on your bohaif, havo made all paymonts:.ae.schedulod.
824.97% $1,305.00 $300.00 $1,605.00
Your Payment Schedule (The “Payment Schedule*) will be:
Number of Paymonts Amount of Payments. Dus. Date
A $90.00- April 29, 2022
2 $90,00 May. 13, 2022
3 $90.00 May 27, 222
4 390,00 Juine 10, 2022
5 $105.00 June 24, 2022
& $100.50 duly 8,-2022
7 396.00 duly-22, 2022
8 $91,50 August §, 2022
9 $87.00 ‘August19; 2022:
10 $82.50 Sapternbar 2, 2022
it $78.00 Seploinber 16; 2022
12 $73.60 Septomber 30,2022
13° “$89,00 _- Ostobor 14; 2022
14 $64.50 October 28, 2022.

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16 - $55.50 Navamber 25, 2022
7 “$64.00 Devanber9, 2022 .
iy $48;50 Becembar'2d; 2022
19 Jainidiry 6, 2029
20 Jafwuary 20, 2023
2 February 3/2023
22 February 17, 2023
23 Maiéh 3, 2023
24 March 17.2023
Tetal $1;805.00

Late Paynient Fae: 1a paymentis late, you vall be chargad:a fee of $30.00
Noty-Sufticielit Funds Fan: if your payitient is rétumed for nonpayment forany reasar) you will.be charged 3-fan of $26.

Security Interest: if you Nave chosen the ACH Authorization: ‘Option, YourACH authorization is: sdcurity tor thie foan; If you do-nol-authoriza automatic payments, you adrenal givitig-uaa-security
{nterest,

Propaymenit: you pay: alti early, yourwill not have‘to pay a prepeyinient penalty,

See the termscof Ihe Lean Agreamént Hela tar ally additional informalion aboui nonpayment,-da fant, any raquiréd tagayaidntin full before the-achedulad ily date: and prepayméat raiunds,

(8) means estinate,

We here-at-Bridge Lending Solutions want you:te understand your Loan.

‘PLEASE UNDERSTAND THE FOLLOWING:
1. This.loan Is dasiqnad as a:short-torin casl-fow solutlon ands: not desiyaed.as asolution forléniger tarm finanelal problems.
2. Additional Fees may-acertia: I-this lear: rolled over:

4. Creditcounseling services are ‘available te Cons: S who are experiencing financial pirat

ITEMIZATION.OF AMOUNT. FINANCED: Amount given to you directly! $300.00

THE TOTAL OF PAYMENTS SHOWN IN THE CHART ABOVE REPRESENTS THE MAXIMUM TOTAL OF PAYMENTS THAT WILL BE PAID IF ONLY THE MINIMUM PAYMENT IS MADE ON EACH
DUEDATE: YOUR ACTUAL TOTAL AMOUNT PAIO-FOR' THE LOAN WILL BE SIGNIFICANTLY LESS:1F YOU ADD. ADDITIONAL AMOUNTS.TO THE MINIMUM PAYMENT OUE.ON EACH DUE
RATE OR IF. YOU PAY OFF YOUR LOAN SOONER. THERE |S NO PREPAYMENT. PENALTY AND THE LOAN CAN BE PAIQ OFF AT, ANYTIME. BRIDGE LENDING SOLUTIONS; LLG RECOMMENDS
PAYING OFF. YOUR'LOAN THE SOONEST YOUR FINANCIAL BUDGET ALLOWS.

YOUR PROMISE TO PAY: You promisato, pay-us-or our assigned.the Talal. of Payments, secording to: the teens of the: Disclosures sal forth inthis Agreement and other. pornitted charges-on the
dates stated'in your Payment Schedule set forth above, Pre-computed | Interost {§-calculatad trem the Disbursement Dats (as defined below) based upomihe asguiiption that you will pay.tis 2
scheduled on-aach Payment Due Date,

é SOE forth above; i yout tae chasen to o reply your! Loar wl an:

baaure: fo: Hnalade your! Loan number on your payrmentirstrurnent i: facilitate ell ing to your. ba aan te payments M03t reach we ‘by 4PM Gant al Time n ihe ean Dua. Date. You

acknowledge and agrea thalwe have natrmade | this ‘Loan contingent Upon your-obtaining any other: product oF Senvice! feet is.

PAYMENT APPLICATION, All pa ments will he applied: fist io fees due!to-us:tharto iiterest and then.io prindipal, AF prepayments. ‘vail_ba-applad in-lhe-sameorder.Both the amount of intarast
charged'and rate ihoradl-are- Sel forth caspeciivety in'the Financa Charge and Annual Parcanlags Rate Disslosures Settorth above.

WHEN YOU BEGIN PAYING INTEREST, You will hagin to pay Interest on,Ihe Loan’ on your Disbursémnent Date, Your. Disbursement Date is delwrinindad a5 follawerif you have hhosen to repay your:
Laan via-ant Automated Claaringhause CAGH") debit ty your Bank. Account. you wiltbagin to pay vs interest onthe Loan‘on the date the procaeds:ol:the Loan tira.deposited into: your Bank
Account andisuch date will be your Disbursamarit Date. If you hava chosaita repay your Lnan via certified chock oF money ‘order, then: your Ioan proceeds-will be mailed to you at te address
an your applicatian and. your Dishurs Dale will: ba.tne'dite we mail yau such loan proceeds chack. Unaveldable’ ‘datays asa regull-of barik: holidays, the processing selieduld of your
individual bank,:the untimely feceipt. of pay siuhs, i suth pay silibs.are. required, inadverient procossing errors, * tacts of God’, andlor” ‘acts.of terror’ mayz.extond tha:time for-distursemant.
intersst.is paleulated: wiih respect to. this loadin the unpaid adiount-of the Loan earh day from the: Disbursamé int: Bate-uniil the Loan and all related teas havo been pald ti:full: In. calctilating your
Payment Senadule and each Payment Due Date; we have assomed:tnat you Will make/each hayment.on the’ Payment Que Dale:in the amountdue; The’ frst Installment Paridd: an theteah begins:
with the Effective: Dale and-ends.on the firs! Payment Due Date. Thereafter, each ingiallmant Period: begins. on-tha first. data following the. Payment Due Dale and‘ends.cn'iha next Payment Gus;
Qate. You willbe charged intereston the entire:installment pariad. bagtining: on the first day of the:Inataliment Period. In caloulating, yaur. payments, wo have aasuitied you will make-eadh: payniant
on the: day and in thecamount dua, Iany-paymidnt is ‘raGalvadl after he Payment Due: Baie, you may be requireditepay any additional ‘inter iat acctuesatter such. datestf any paymentis mara”
bofers the Payment Que’ Data, tha interest is assessed ‘an the first day of the lean period butas paid at he aitofina loan period and arafore canndt be prorated.If the payment Js paid: arly, *,
Tima Is of thé essorice, whieh means, that there. ara'no. grace periods for whan payments must bo: niada.. any payrhent ig due on B: day on whichyour bank is not open, then sith payrherit: Shall
bar tiuo'gn thi-day.bétore the bankly-cloged,

CALGULATION, OF INTEREST AND PAYMENTS: The: interest: charged hereunder is ‘galculated: Usiiy the simple Inferestmethod pas beer conipuled upon the: basis. hal you will pay all
jistallmarits.gn the scheduled Payment Dates;-You:will dnly be charged the mihlmim payingnis as.steted above: inyourPayment § Schedile, ‘However, youlean imake addilonal: paymants towards”
your paincipatatany time,

PREPAYMENT, You may prepay allot part ofthe dmmount yau.owe us. atany: time: avithout ant raduitiorial. pidpayment ponalty,: ‘jt you dasa, you" must pay: tha interest acctiied: ‘on your Loan-and alt
other Amounts due up! jo1he data of-your payment; Prepaymants:thal are lass that JhBtolal amouUntdue 16.us-will be’ fillacted in your: final payment due,

ATTORNEYS’ FEES RELATED TO COLLECTION. You unidadsland thatln: the ‘8Venl hat-Landér.1s reqiilred to employan-attomay al kw to vollact shy amount: dup. Undge is Agreement, you wil be
re quired tG:pay. lhe r ile Tees of such altoriby to protect ‘ine lnlerest al Lander.or to take. any: other.action required to collect the nmounts due! hereunder,

zi 26:2, we have. disclosad to:you that ourimerest inthe ECheck/ACH,
8 whoihér cur jnterest'in tha:Check/ACH Authorizations a: “securily Interest”,

SECURITY. Pursuant to Catiiments:2(a)(28) atthe Federal Reserve Board Official Staff Commentaryto Ragilati
Authorization Is:a security inletast f ulelfeLending purposes only; because fadaral law-dogs fal: cldar ad
IL you dé not, auihorize aulomatls payments, you-are notgiving usa security Interest,

NONSUFFICIENT FUNOS PEE (NSF FEE). You agrae to: pay $25:00.1f an item i ii payinent ‘of what you owe is:ralumad unpaid or tite Bank. for any reason tdicets ab ACH debit entry, the
authorization for which:wasinol prapérly revoked by you: You understand and:agres that your bank may:also.charge" you afee for ihe prasenialian of an insteument for payment for. which there
arg insulficienttunds availabig to pay such lnginumiant,

LATE PAYMENT.FEE. You will be charged a'téa-of $90.00 :for each payment hat is received! after. Ihe applicuble Payment Que Dats,

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Ferme gorane see NE EHH EE YUE Weare erste dete h ke MOLIUEE Ut. od iy flees; Mie PUTS the UN LY wb a> BALICN ATU Wee, oe Myamy JSON PUT Pret etied UF Lon merci: Ut) Un You
tha Cancollation Dandine but before tho loan pi ds have bean di ited Into your Bank Account, then we will not debit your Bank Account and bath your ang our obligutions uridor this
Agreemant will be rascinded, However, if we timaly reveive your writlory nolice of canceltation.on of before the Cancellation Deadline bul afer the loan pr ds have besn.d Hed into your
Bank Account, then you suthorize us to alfect a debit to your Bank Account for. the principal amount of this Agr i, then it we ive pay of the principal ammount via the debit, then boty
your and our obligations under this Ag will be 4. I we do nat receive payment of the principal amount by-dabil to your Bank Account in alther-ot the above siluatlans, then this
Agreement will remain in full force’and affect.

DEFAULT: You will be in'default it yau'do any.of the following: (1) yau provide faiso of mish g information ta us in connection wilh this Loan; (2) you fail \e make any. payment dué to Us under
this Age or any pay provided to us Is retumed (or any feason; or (3) you file batikruptey or become a. debtor under applicable bankruptcy kaws.

CONSEQUENCES OF DEFAULT. If you default, wa may. BL our option to any of the fallawing (as permitted under Applicable law}: (1)'decinre the entire unpaid principal balance and all accrued
Unpaid 4 {and fees | diately dud and require you to play us, everything you owe us; (2) withdraw money trom your Bank Account via AGH debit to’ebtain the funds, due to us under this
Agreement, if you. have provided us with an-ACH authorization to dobit your Bank: Account: and (3): obtaits a judgment's and take: other tegal action against you: to abtain the funds you owe us. By
taking any of these actions ‘against you, we retain the right touse ‘any olhar mothad to-obiain ihe money you owe us, Failura to use any-of thése rights agaitjst youdoes not mean that we give up
any other right listed above.

CREDIT REPORTING: We inay report information atiout your Loan to cradit bureaus, Late missed ts,.of other Lactvity may be follocted on your credit Fapari,

pry y

CREOIT REPORTING VERIFICATION. You ogree that We may make inquitlos.conceming your credit histary and standing, and may report inf i 9. your parte Vee under this
Ag mt to credit. ing‘ag } Yeu wuthor ‘81Us to, Varily your pastand/or. prestnt employment history and Income. You.autnenze'us lowvedly the Information you providied:to us in
connection with your Loan application, You ‘giveust fe. abtain ink jon about you froma cons g agency or other Including your Hank, We ragerve the: right to
withhold funding of this Loan, at any time ptior to disbursement, to:aliow us lo vorily tho: infomation you have provided fo.us.

BORROWER'S BANK CHARGES: You will no! hold us-of oor agents. tasponsibie for ony.lees you must pay as a’resull of any check or mihdeawal req boing alyour bank in
Connection wilh this Agreement.

ASSIGNMENT, We may assign 'or transfar this Agreement or any of our rights:h der, This Agréemani may, not-be assigned by yau with our prior weltlan consent. Any assignment or
‘altempied assignment by you in vialation hefeat.shall be void.

TIME PERIOD, Any cauiso of action arising from. or in connection wilh Ihis Agreement shall ba asserted within one-{1)} yonr of the date upon which such cause of action occurred, of Ue date it
should have been reasonably discovered, whichever isearier, provided, however, the ‘foregaing limitation shall. not‘apply to the collection of any amounts due under this Agrdeinent.

ACH AUTHORIZATION TO. CREDIT BANK ACCOUNT: Uniass the proceeds of this. Ag tare suppiled to any 9 toan bal that you may owe to us or you nolify us otherwise, by
electronically signing this Agreament below, you are choosing io authorize us-and our. agents {9 iniliate an. Auiomated Clearing House CACH") credit entry to your Bank Account to disburse the
praceeds of this loun, .

ACH DEBIT AUTHORIZATION: Unless you chose to:mall to.us acheck.or maney order for payment for this Loan, you hereby voluntarily authorize Ws, auit agents and our-suecessors and
assigns, ta iniliate aulomaitic debit entries outof your Bank Accoun! identified above'in accordance with this: Agreemont, including any retumed payment chaigos andthe total aincunt you owe: if

you do not pay: us when you.agroad In the Age nt. You also autharize'us to thitinta ACH debits to‘Your Bank Account in order to obtain payment under this’ Agreement. By sfoctronically
‘signing this Agrgement below, you ate:authovizkig U5 lo Initiaté-9 singin debit entry. out of Your.Bank Account via:ACH for each of Ihe following amounts: (6) foreach Paymanl Amounion the
Payrnont

Due Date; as described in the Payniant Schedule above: *
ib}Horany fate charges or foas ataniad.on gach Payment Dua Dale;
{c) to recoup the outsianding balance’of the Tals! of Payments, on the next Payment Daly, or theraatter, if you are in-defaull; (a) for any-additional Financo Charges accrued according to this
‘Agreement, an final Pay Duo Date, or thereattar.
You agraa that wal may re-initiate n dobit antry for the’samea amount if the AGH Gabit enlryis dishonored or payment in returned forany reason. The ACH Authorizations set fort in itis:

Agreement are:to remain in full force and effect for this fon uniil your tr dness fo us forthe Totalof Payments, plus-any other charges or foes incurred and Uescribed In this
Agreement, is fully satislied. You may only ravoke the above aultwization by. contacting.us directly. If you tevoke your authorization, you agree ’to pravide'us will anather form of payment
accepladla-to us.

Ifany payment is'returned unpaid, youauthotize us to Mako a,one-time electronic fund transfer from your account to collect.a fee of $25: You voluntarily aulharize'us, our agents, and our
successor and’s8Signs, to Initiate a debit entry to Your Bank Account for paymont of ihis fea, Youdurthar authorize us io initiate debit entiies as necessary lo recoup the outstanding loan
balance Whrinaver an ACH ‘{ansaction is retumed.to.us. for dny reason, IF your payment is returned to vis by your financial inptilution due to: ‘Insulfictent funds.or a.closad account, you agrae that
we'also may recover courticosts and reasonable attormey's fees: incurred by us,

You understand and agree that this ACH authorization Ts | provided for your i and:that you have authotized repayment of your [oan by ACH dabits veluntarily, You agree thal youmay
repay your indobiednoss:through othet means, including by providing timely payment via cashier's chnek dr monay order directed to: Bridge Landing Solutions, 8 Tribal LLG, PQ Box 481, Lac:du
Flambeau, Wt $4538:

You authorize us to Verify and update all of the information that you have provided Fagétding this ACH: Authorization, Including past and/or current: information.

NOTICE OF VARYING AMOUNTS: For-thosa customers who have chos the ACH Debit Autharizalion, pleaso:nate that you have the-fight to receive, nolica ‘of olf withdrawats.from your Bank
Actount by aa ACH Debit that yary id amount, However, by agreeing to tet. 06 withdraw thé maney: trom your Bank

‘Accounl, you agree we only have to tell:you the range of withdrawals that wa:can make. The range-of withdrawals: Will be-elther an amount equal to-your payment due'or an amount ‘equal, {o the
‘outstanding balance undor the Loan (which may'be: grealar thain or less than'the payment due, as:applicabia), plusia falurned payment faa: os. spocifiod below, For: any withdrawal oulsida’ of this
Specified cange;:we.wilt send you a nolicd. Tharatore, by signing this Agreement below; you are choosing ta only: receive nalice whan a withd the ‘amount inthe specified range:
You authorize us to-vary the amount of any, withdrawal as Headed to repay instalments dus on the Loan as modified by.any partial prepayments you make.

TERMINATING ACH DERIT:AUTHORIZATION: Far those: customers who have'cttosen the ACH Debit Aulhorizalion, the ACH debit sulhorization ‘will femain

in ful force anu elect until the eurlier of the following occurs; (i) you salisty ait of your payment obligations undor this Agrooment or (ii) you tall us ‘or the Paying Bank.thal we-can no longer
withdraw «money from your Bank Account in enought ima’ (nal fess; than ten business days pror.ta the scheduled debit date) 10 lat ‘tha Paying Benk or us stop: taking the money aut of Your Bank
Account, Termitaling your ACH authorization does nel raliove you of yauir obligation to pay your Loan In full,

YOU MAY REVOKE YOUR AUTHORIZATION TO AUTOMATIC PAYMENTS AT ANY TIME BY CONTACTING us DIRECTLY VIA PHONE NUMBER TO 866-572-0720 OR EMAIL

TO. qustomersarvicegRbridaclandingsolutions.com, Nota that we will noad’a bie time lo process your request and you will siilf be rasponsinie for payment and agri to contact us
‘immodiately to nolify us of how you are planning to make your next payment due.

For the purp of hese disclosures, our business. days are Monday through Friday, 8:00 AM CST to 6:00 PM CST;

A bark Narie:
B. Routiig'ABA No:
€. Chacking Account [iy

D, Customer Name: Knotts Caitlin

If you choose the ACH paymont option below, you authorize:us to offact ACH. deblt and credit ontries:reforenced above for this loan, you also agree ta tha ACH
Authorizations set forth In this Ag it. You.ack Nédigo and agfoa' that tlils ACH Authorization to-Crodit and Debit Bank-Account Inures:to tho: benefit ‘of Bridge
Lending Solutions,.a Tribal LLC, its affifiates, loyees, sors, and registered assigns and that: ‘choosing ACH’as your paymont method isan option andis
not required:in order to obtain a loan from Bridge Londing Solutions.

7 By chacking this box you hereby AGREE {o thé terms of this ACH Aulhorzation Section in this ‘Agreement YOU ALSO HEREBY. UNDERSTAND AND AGREE THAT THIS LOANS NOT
CONDIMONED ON PAYMENT BY ACH AND THAT YOU MAY PAY BY PAPER CHECK {MONEY ORDER OR BY ANOTHER METHOD LISTED IN THIS AGREEMENT,

‘PAYMENT BY MONEY ORDER: You may.pay any payment owing under this Agrecment by money order.

CHECK CONVERSION NOTIFICATION: Whcin You provido.a check as payment,-you agree we can-eithor use information fay your check to. make @ one-thne olectroni¢ Wilhidrawal from your
Bank Account orto process the paymant.as a chock fransaction. When wa. use information from: your. chack to: make @ withdrawal from your-Bank Account, funds mayt ‘be withdrawn from your
Bank Account as sd0n ag Ine Same day wn recive yolir paymantiand you wil nol recaive your chack back from your'financiat institution. For questions, pledise-call Gir customer service:phons
number: 1-866-572-0720,

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Rav. November.2019
igNeipes WHAT OOES BIBOON LLC DBA BRIDGE LENDING SOLUTION (“BRIDGE LENDING SOLUTIONS’) DO WITH. YOUR PERSONAL INFORMATION?

Why? Einanclal-companies choose hdw thoy, alate. your parsanal Informatik on, Fi t low gives’ be lars {hie right to Hinit'some:-but notall shating, Fi
how weccdilact shate, and protast your park tonal information: Plensa: read This nolied caralully lo. understand whal we do.

also requirag:us te tall’ you

What? The. (ypes of parional infertiation wa collect.and share depend on the product of service you have.willi us, This information ean Include’

Social Securit y number

i agcount transactions
dinges: and payment histoty:
Gradit histary.ant.credit-scores:

ee ee

Haw? AN financial ‘ompanieg: road to shard Gistoiiiets’ pnisehil Inlirnallante con theic evarpday business. 1h ihe Section below, wa lat the tMasons:tinancial conipaitics can. shara thait:

ep Lint the:teadons Bridge Lending, Séluiiuds chooses to-sitare: and her jou Gan limit this sharing,
Reasons-we can'sliare your personal infortwation Does Bridge Lending Can youtlinitthe sharing?
Solution share?
For oureveryday'ti ~ Stich a$'to process your i ieikain: “YES NO
yoursocounté): reaper 19.60 sdurs: and deel investigations, arcapert-to: silt
bureaus.
Forour markating purposik -to'ofter obrpréduals, and sarvieos:a-you: yes NO
Forjoint-wiarkating With ollisr Hinanclal companies HO WE DO-NOT SHARE
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DISPUTE RESOLUTION PROCEDURE AND ARBITRATION PROVISION

DISPUTE RES OLUTION PROGEDURE: As'ah adtomniodation ta: consumers; we have established the fallawing Dispute Resaiition Priceduraite fecaiva, feview, and: consider any/and all types of
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accordance with the: terms of the Arbitration Provision, described betaw,

‘ARBITRATION PROVISION: PLEASE READ THE FOLLOWING CAREFULLY AS IT IMPACTS YOUR LEGAL RIGHTS,

WE/AS'A WHOLLY OWNED ECONOMIC: DEVELOPMENT ARM, INSTRUMENTALITY, ANO LIMITED LIABILITY COMPANY OF THE TRIBE, ANO OUR DIRECTORS, OFFICERS: AND: EMPLOYEES AGTING
WITHIN: THE, SCOPE: OF THEIRAUTHORITY, ARE NOT SUBJECT TO-SLIT INAMY: COURT IN ANY:IURISDICTION; GRIANV-OTHER FORUM, ABSENT A WAIVER OF SOVEREIGN IMMUNITY, In oxdlar te
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he: Arbitration Provision in this Agreement... This Jimited walverts sinctly titled to individual arbitration daims setforih below and: judicial actions tb afifoece such individual: arbitration. awards as
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Definitigns; The wards “dispute” and “disputes” sre given lhe broadest possible. meaning.and include; without limitation (a) all claims, ilspuias; ot controversies arisiig trom ‘ottelating directly
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Arbitration Association (1-800-778-7879; hr Hostawaiys adt.ar gh. Howaver, the parties may-muiually agree. to sélect'a diffardal: arbitrator who ig an atlorney; rotlied judge. or-arbiltater registered
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tha extent those niles and procodures-do not contradict the axprass.terms. of this:Agreament.or this “Arbitzation Provision, including: the limitations on the gebileator below, You may obialna- copy
ofthe rules. net protedures-by-contacting the Ameriean Arbitration Association (1 1-800-778-7879; tte Auww.adhorn).

Regardlass.of who ids arbitration, we will advarice your ponion of.the expenses associated wilh the arbitration, inchiding tie ting, administrative, Heariig:and arbilrator's:faes.CArbilration

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Youand We-exprossly acknowledge: and-agree. thar this: “Arbitration Provision ismade’ pursuant! ta gy intarstate do and shall be goverried: by ihe FAA,

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YOU AGREE TO THE: TERMS OFTHIS AR TTRATION ‘PROVISION AND YOU HEREBY.AGREE AND ACKNOWLEDGE THAT YOU-ARE WAIVING YOUR RIGHT TO HAVE A COURT RESOLVE ANY
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WAIVER. OF JU RY. TRIAL: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND. ACKNOWLEDGE THAT YOU ARE WANING YOUR RIGHT TOHAVEA
TRIAL BY.JURY TO RESOLVE: ANY DISPUTE ALLEGED AGAINST US OR AGAINST & RELATED THIRD PARTY,

CLASS-ACT IONIREPRESENTAT IVE WAIVER: BY AGREEING TO THE TERMS OF THIS ARBIT| RATION PROVISION, YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR:
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By electronically signing this: Agrsemuant, you haraby acknowledge t that-you have fad the Agreamant in tis antiroty; hat you have earetully: raviéwed:all’of-ihe terms and provisions contained in
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instrumentally, and Dmited liability company of the Tribe. The Tribe Is'a federally fecognized Indian Tribo and enjoys sovereign immunity, Nothing i in this. ‘Agréement conslilules a waiver of the: Tribe's
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immunities, lo which the Tribe Is: entitled, To protent and preserve the rights of the parties, no person'may A waivar of Sovereign immiinily, No waivar of the Tribe's immunily.is or-can He
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Provision.)”

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executed Agreament, which is- binding and-enforceable-as 10 both parties. Finally, you further acknowledge that this agreement Is approvad or denied. on Tribal land and-is subject
to final determination by. us.

NOTICE: YOU ARE ENTERING INTO A LOAN AGREEMENT WITH A FEDERALLY aneoawwn avenicay INDIAN TRIBE AND, AS SUCH, THE SUBSTANTIVE LAW APPLICABLE TO THIS LOAN
AGREEMENT ARE THE LAWS OF THE TRIBE AND APPLICABLE FEDERAL LAW. JHIS:LOAN AGREEMENT IS. NOT SUBJECT-TO THE LAWS OF THE STATE WHERE YOU RESIDE THIS AGREEMENT
PROVIDES FOR RESOLUTION OF DISPUTES THROUGH FINAL:AND BINDING ARBITRATION BEFORE A NEUTRAL ARBITRATOR AND REPLACES THE RIGHT TOGO TO COURT AND HAVE A
DISPUTE RESOLVED BY A JUDGE OR JURY, THIS AGREEMENT ALSO WAIVES YOUR ABILITY. TO PARTICIPATEIN'A CLASS ACTION LAWSUIT OR CLASS-WIDE ARBITRATION,

Lender Britos Landing Solutions, LLC

corer sre:

First Name: Caitlin Last Namn: Knotts Date: 4/15/2022

